Case 9:21-cr-80166-RAR Document 20 Entered on FLSD Docket 11/10/2021 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21-80166-CR-RUIZ/REINHART

  UNITED STATES OF AMERICA

  v.

  TIFFANY LORRAINE CANDOFF,

                     Defendant.
                                            /

                            GOVERNMENT=S FIRST RESPONSE TO
                             THE STANDING DISCOVERY ORDER

         The United States hereby files this response to the Standing Discovery Order. This

  response also complies with Local Rule 88.10 and Federal Rule of Criminal Procedure 16.

         A.     1.       Included within the electronic discovery files are the written and recorded
                         statements made by the defendant. Included are text messages, audio
                         recorded statements and video of the undercover officer’s interactions with
                         the defendant.

                2.       Also attached is the portion of the written record containing the substance
                         of any oral statement made by the defendant before or after arrest in
                         response to interrogation by any person then known to the defendant to be
                         a government agent or made spontaneously.

                3.       No defendant testified before the Grand Jury.

                4.       The defendant’s prior criminal record is included in the electronic files
                         provided. Her prior record is also listed in the pre-trial services report.

                5.       Books, papers, documents, data, photographs, tangible objects, buildings or
                         places, within the government’s possession, custody or control, which are
                         material to the preparation of the defendant’s defense, or which the
                         government intends to use as evidence at trial to prove its case in chief, or
                         which were obtained from or belong to the defendant, may be inspected at
                         a mutually convenient time.



                                                   1
Case 9:21-cr-80166-RAR Document 20 Entered on FLSD Docket 11/10/2021 Page 2 of 5




                   The attachments to this discovery response are not necessarily copies of all
                   the books, papers, documents, data, etc., that the government may intend to
                   introduce at trial.

             6.    There were no physical or mental examinations or scientific tests or
                   experiments made in connection with this case.

                   A laboratory analysis of the substance seized in connection with this case
                   will be made available to you upon receipt by this office.

                   A laboratory analysis report regarding the cocaine in connection with this
                   case is included. The laboratory analysis of the suspected methamphetamine
                   is forthcoming.

       B.          DEMAND FOR RECIPROCAL DISCOVERY: Pursuant to the Standing
                   Discovery Order, the United States requests the disclosure and production
                   of materials listed in Section (b) of Local Rule 88.10. This request is also
                   made pursuant to Rule 16(b) of the Federal Rules of Criminal Procedure.

       C.          The government will disclose any information or material which may be
                   favorable on the issues of guilt or punishment within the scope of Brady v.
                   Maryland, 373 U.S. 83 (1963), and United States v. Agurs, 427 U.S. 97
                   (1976).

       D.          The government will disclose any payments, promises of immunity,
                   leniency, preferential treatment, or other inducements made to prospective
                   government witnesses, within the scope of Giglio v. United States, 405 U.S.
                   150 (1972), or Napue v. Illinois, 360 U.S. 264 (1959).

       E.          The government will disclose any prior convictions of any alleged co-
                   conspirator, accomplice or informant who will testify for the government at
                   trial.

       F.          No defendant was identified in a lineup, show up, photo array or similar
                   identification proceedings.

       G.          The government has advised its agents and officers involved in this case to
                   preserve all rough notes.

       H.          The government will timely advise the defendant of its intent, if any, to
                   introduce at trial extrinsic act evidence pursuant to F.R.E. 404(b). Pursuant
                   to Local Rule 88.10, the notice will be provided regardless of whether the
                   evidence may be used in the case-in-chief, for impeachment or possible
                   rebuttal, and will include the general nature of the evidence.

                                             2
Case 9:21-cr-80166-RAR Document 20 Entered on FLSD Docket 11/10/2021 Page 3 of 5




                   You are hereby on notice that all evidence made available to you for
                   inspection, as well as all statements disclosed herein or in any future
                   discovery letter, may be offered in the trial of this cause, under F.R.E.
                   404(b) or otherwise (including the inextricably-intertwined doctrine).

       I.          The defendant is not an aggrieved person, as defined in Title 18, United
                   States Code, Section 2510(11), of any relevant electronic surveillance that
                   was authorized pursuant to 18 U.S.C. §2516 and 18 U.S.C §2518 and that
                   has been unsealed in accordance with 18 U.S.C §2518.

       J.          The government has ordered transcribed the Grand Jury testimony of all
                   witnesses who will testify for the government at the trial of this cause.

       K.          The government will, upon defense request, deliver to any laboratory
                   presently registered with the Attorney General in compliance with 21
                   U.S.C. ' 822 and ' 823 and 21 C.F.R. 1301.13, a sufficient representative
                   sample of any alleged contraband which is the subject of this indictment to
                   allow independent chemical analysis of such sample.

                   If there is no response within ten (10) days from the date of the Certificate
                   of Service attached hereto, the bulk of the contraband/narcotics will be
                   destroyed. As usual, random samples will be set aside to be used as
                   evidence at trial.

       L.          If you wish to inspect the Volkswagen Jetta used in the commission of the
                   offense charged, please contact the undersigned.

                   Security requirements mandate strict compliance with the procedures
                   established for the granting of access for inspection of seized vessels,
                   aircraft and vehicles.

                   Accordingly, the United States Attorney's Office cannot process last-minute
                   requests for inspection. In order to meet security requirements, all requests
                   to inspect seized vessels, aircraft or automobiles must be received by the
                   AUSA handling the case on or before fifteen (15) days from the date of this
                   Response to the Standing Discovery Order.

                   If you anticipate that this deadline may create a problem for you or your
                   client, please promptly send written notice to the appropriate AUSA.

       M.          The government is not aware of any latent fingerprints or palm prints which
                   have been identified by a government expert as those of the defendant.


                                             3
Case 9:21-cr-80166-RAR Document 20 Entered on FLSD Docket 11/10/2021 Page 4 of 5




         N.             The government will make every possible effort in good faith to stipulate to
                        all facts or points of law the truth and existence of which is not contested
                        and the early resolution of which will expedite trial. These stipulations will
                        be discussed at the discovery conference.

         The government is aware of its continuing duty to disclose such newly discovered
  additional information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules
  of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

         The discovery is being provided through the USAfx file sharing system. The file index was
  provided to defense counsel by e-mail on November 10, 2021. Please review the index and the
  discovery to ensure all files were transmitted. If there are any issues receiving discovery, please
  contact undersigned counsel.


                                                 Respectfully submitted,

                                                 JUAN ANTONIO GONZALEZ
                                                 UNITED STATES ATTORNEY


                                        By:      s/Daniel E. Funk
                                                 Daniel E. Funk
                                                 Assistant United States Attorney
                                                 Court ID A5501915
                                                 500 S. Australian Ave, Suite 400
                                                 West Palm Beach, FL 33401
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                                                 Email: daniel.funk@usdoj.gov

  cc:    DEA TFO Barry Kopplin




                                                  4
Case 9:21-cr-80166-RAR Document 20 Entered on FLSD Docket 11/10/2021 Page 5 of 5




                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 10, 2021, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record on the attached Service List in the manner
  specified.

                                                           s/Daniel E. Funk
                                                           Daniel E. Funk A5501915
                                                           Assistant United States Attorney


                                       SERVICE LIST
                             United States v. TIFFANY CANDOFF
                                  United States District Court
                                  Southern District of Florida

   Party                      Counsel
   Plaintiff:                 Daniel E. Funk
   United States              Assistant United States Attorney
                              500 S. Australian Ave, Suite 400
                              West Palm Beach, FL 33401
                              Email: daniel.funk@usdoj.gov
                              via Notice of Electronic Filing generated by CM/ECF
   Defendant:                 Robert Stickney, Esq.
   TIFFANY CANDOFF            100 SE 3rd Avenue, Suite 2210
                              Fort Lauderdale, FL 33394
                              Email: rws@stickneylaw.com
                              via Notice of Electronic Filing generated by CM/ECF




                                               5
